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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


    UNITED STATES OF AMERICA EX REL.                §
    STEPHEN DEAN                                    §
                                                    §   Civil Action No. 4:14-cv-203
    v.                                              §   Judge Mazzant
                                                    §
    PARAMEDICS PLUS, L.L.C., ET AL.                 §

                              ORDER FOR EXPEDITED RESPONSE

           On February 26, 2018, Defendants Paramedics Plus, LLC, East Texas Medical Center

    Regional Healthcare System, East Texas Medical Center Regional Health Services, Inc. filed an

    Emergency Motion to Quash Order Granting Writ of Sequestration and Motion to Compel Letter to

.   Ardent (Dkt. #168) and Emergency Motion for Hearing on its Emergency Motion to Quash Order

    Granting Writ of Sequestration (Dkt. #169). The United States of America shall file a response to

    the motions no later than February 27, 2018, at 3:00 p.m.

         IT IS SO ORDERED.
         SIGNED this 27th day of February, 2018.




                                      ___________________________________
                                      AMOS L. MAZZANT
                                      UNITED STATES DISTRICT JUDGE
